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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CAPITAL AREA IMMIGRANTS’ RIGHTS
COALITION, et al.,

                           Plaintiffs,


      v.
                                                           Civil Action No. 1:19-cv-02117-TJK
DONALD J. TRUMP, et al.,

                           Defendants.


                         NOTICE OF WITHDRAWAL OF COUNSEL

       Please take notice that the undersigned, Elizabeth Hagerty, hereby withdraws her

appearance as co-counsel for Plaintiffs Capital Area Immigrants’ Rights Coalition, Refugee and

Immigrant Center for Education and Legal Services, Inc. (“RAICES”), Human Rights First

(“HRF”), Z.B.M., C.C.R.O., Y.G.C., D.L.R., N.G.R.L., M.Y.R.B., W.M.R.O., J.M.M., and

K.M.V.M. in the above-referenced case. No substitution of counsel is necessary, as Neal Katyal,

Craig Hoover, Justin Bernick, T. Clark Weymouth, Mitchell Reich, Kaitlin Welborn, and

Thomas Schmidt of Hogan Lovells, Manoj Govindaiah of RAICES, and Hardy Vieux and

Patricia Stottlemyer of HRF will continue to represent Plaintiffs in this matter.

Dated: January 2, 2020                                Respectfully submitted,

                                                      /s/ Elizabeth Hagerty
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 2, 2020, I electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system.      Counsel in the case are registered CM/ECF users, and service will be

accomplished by the CM/ECF system.


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